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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: ALEXANDER E. JONES                           §
                                                    §   CASE NO. 22-33553 (CML)
                                                    §
                    Debtor.                         §   Chapter 7


             ALEXANDER E. JONES SUPPLEMENTAL EXHIBIT AND AMENDED
                                  WITNESS LIST

            Alexander E. Jones (“Debtor”) files this Amended Witness and Supplemental Exhibit List

for the hearing to be held on Thursday, January 23, 2025, at 9:00 a.m. (prevailing Central Time)

before the Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern

District of Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                   SUPPLEMENTAL EXHIBITS

 No.         Description                          Offered   Objection Admitted/Not       Disposition
                                                                      Admitted
       5.    Reservation of Rights of the
             Connecticut Plaintiffs with
             Respect to the Debtors’ Motion
             for Approval of Compromise and
             Settlement [#360]
       6.    Memorandum Decision on Texas
             Plaintiffs’ Motion for Summary
             Judgment Against Jones [23-
             03035, #46]
       7.    Memorandum Decision on Texas
             Plaintiffs’ Motion for Summary
             Judgment Against Jones [23-
             03037, #76]
             Any pleading or other document
             filed with the Court on the docket
             of the above-captioned chapter 7
             case
             Any exhibit necessary to rebut
             the evidence or testimony of any
             witness offered or designated by
             any other party


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 No.     Description                          Offered     Objection Admitted/Not         Disposition
                                                                    Admitted
         Any exhibit listed by any other
         party

                                   AMENDED WITNESSES

       1. Charles Murray
       2. Representative of Texas Plaintiffs
       3. Representative of Connecticut Plaintiffs
       4. Any witness and rebuttal witnesses listed by any other party.
       Debtor reserves the right to amend and/or supplement this Witness and Exhibit List as

necessary in advance of the Hearing. Jones Parties also reserve the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

Debtor reserves the right to introduce any previously admitted exhibit.

Dated: January 22, 2025
                                              /s/ Shelby A. Jordan
                                             SHELBY A. JORDAN
                                             State Bar No. 11016700
                                             S.D. No. 2195
                                             ANTONIO ORTIZ
                                             State Bar No. 24074839
                                             S.D. No. 1127322
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                                             CO-COUNSEL FOR ALEX JONES

                                             /s/ Ben Broocks
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                                             Federal Bar No. 94507
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                                             Email: bbroocks@broockslawfirm.com
                                             CO-COUNSEL FOR ALEX JONES


                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on January 22, 2025 as well as
the following parties.

                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan




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